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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

Sneaker Match LLC
                              Plaintiff,
v.                                                Case No.: 1:21−cv−02003
                                                  Honorable Matthew F. Kennelly
John Doe 1−10
                              Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, April 29, 2021:


        MINUTE entry before the Honorable Matthew F. Kennelly: Plaintiff's motion for
leave to file [4] is granted. Mailed notice. (mma, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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